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Mark D. Malloy
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                                                           January 23, 2020

   VIA ECF
   Honorable Nancy Joseph
   United States Courthouse, Room 253
   517 East Wisconsin Avenue
   Milwaukee, WI 53202


                     Re:       Crafton Moore v. State Farm Fire and Casualty Company
                               Eastern District of Wisconsin Case No 18-CV-00539

   Dear Judge Joseph:

           I represent State Farm in this case. I am writing to set forth an additional objection to the witness
   list provided in Plaintiff’s pretrial report. We previously objected to Plaintiff’s identification of Camille
   Cook, Kiwanna Glass, and Charrish Winfory in the report for the reasons stated in our prior filing. Plaintiff
   has also identified Celia Moore as a witness in this case. It is noted that Ms. Moore “will testify about seeing
   her brother at home at the time of the fire, having just returned from the bar.”

          Ms. Moore has never been identified as a witness in this case. She does not appear on Plaintiff’s
   May 23, 2018 Rule 26 Initial Disclosures. (Doc. No. 18). In addition, Plaintiff responded to State Farm’s
   relevant interrogatory as follows:

            Interrogatory No. 8: Identify all witnesses, persons, communications, and/or
            documentation that may testify and/or illustrate your whereabouts on the night of the
            Incident.

            Answer: To the best of my recollection, I was working on the Property until
            approximately 9:00 p.m. - 9:15 pm. I went home to shower and change and then went
            out to meet up with my friend, Dewitt Barksdale, at Mr. J’s Lounge, 4610 W. Fond du
            Lac Avenue in Milwaukee from approximately 10:30 pm until around 2:30 am. After
            we left Mr. J’s, we most likely grabbed something to eat before heading back home.

   See Discovery Responses Attached as Ex. A to Malloy Affidavit at p. 8.

          State Farm objects to Plaintiff’s designation of Ms. Moore at this late date. State Farm served
   discovery directly related to the issue on which she is called. Had she been identified, State Farm would
   have had the opportunity to take her deposition. State Farm is thus prejudiced by Plaintiff’s late disclosure,
   and thus respectfully request that she not be allowed to testify at trial. Alternatively, and as requested for




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Ms. Cook, Ms. Glass, Ms. Winfory, and Ms. Williams, State Farm respectfully requests that it be allowed to
take discovery depositions of the witnesses before trial.

                                             Very truly yours,




                                             Mark D. Malloy

cc:         Nathaniel Cade , Jr. (via ECF)




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